                            Case 2:23-cv-01413-ES-MAH Document 1-1 Filed 03/13/23 Page 1 of 4 PageID: 13
                                                         Exhibit A to the Complaint
Location: Flanders, NJ                                                                                   IP Address: 96.225.34.100
Total Works Infringed: 40                                                                                ISP: Verizon Fios
 Work      Hashes                                                               UTC              Site           Published     Registered   Registration
 1         Info Hash: 0DA52CD859D8BFB4CE9AEFB0241F8897218FC9BF                          03-03-   Blacked        01-14-2023    01-27-2023   PA0002393084
           File Hash:                                                                     2023   Raw
           3106FD3607D7FDFB170BF5EB5D3C039FAF5AB57C47C0133C5154E2B5AF1D8B62           19:56:06
 2         Info Hash: 665AB059BA65DDB82040CEB98A83B8BCED372A4C                          03-03-   Tushy          07-24-2022    08-29-2022   PA0002367746
           File Hash:                                                                     2023
           33426FFA7BACA6169D3C17B75E83C7F65AF84AEE693F1DFF51FDA25B6EE0E659           19:46:34
 3         Info Hash: 1B7C2A860934AA580DF97BF6D6E7E18075E90612                          02-24-   Blacked        03-30-2020    04-17-2020   PA0002237303
           File Hash:                                                                     2023   Raw
           DB7D1811FB7FF459267F5D52450BC2693B7D70A70A26828177CFC78C7276ACF2           19:46:55
 4         Info Hash: 9D0DD6ED44118B4E55D80196591F7AC42E295976                          02-24-   Vixen          07-03-2020    07-16-2020   PA0002248578
           File Hash:                                                                     2023
           738DDC3A312718766B64BDB17DD2846B5E1715AFBA943EA819CCE5A2066B4BF7           19:28:05
 5         Info Hash: 89E944A0F9F4B56266BDCEEB3F50BA71B1924516                          02-24-   Slayed         06-21-2022    07-21-2022   PA0002367486
           File Hash:                                                                     2023
           8F93F8FE1883E7EBA4AAEA5E9816FA7AC9130A39D2E7EF65B663AB461822B286           19:19:07
 6         Info Hash: 6D40E6B3C68E4347A8776C49A5F33AED77C35A3C                          02-24-   Blacked        06-26-2021    07-08-2021   PA0002300662
           File Hash:                                                                     2023
           23CEF8CDE126E624213A1BBC3AEC0ED99E29DC5FCEECCC7F6D3EC3C7F4E9CF6E           19:12:26
 7         Info Hash: 7B5C509F0E138C25DA7E1CFEDEBD4AA7B5DCF4BC                          02-24-   Blacked        05-31-2021    06-15-2021   PA0002296925
           File Hash:                                                                     2023   Raw
           7A28194A1CC4B1F19B17D5740386B6F1D8D499F361CF1FCC92F31BEF672E1653           17:56:11
 8         Info Hash: B130E19A6EEF2E4D60D3661116FFE8440CD401F8                          02-24-   Tushy          02-19-2023    03-06-2023   PA0002399999
           File Hash:                                                                     2023
           6937A7778D7753D33CCA08323009E3A32A25E3D69A327CAFDE357AB7AD705752           17:08:33
 9         Info Hash: 90B3B7E92C2FCAB7BC642BDBA8946CBBEE03AE90                          02-22-   Blacked        02-18-2023    03-06-2023   PA0002399995
           File Hash:                                                                     2023   Raw
           FB9226ED18915EC2763AC638B7167B86633115C74B9AC01896A885AD5C6BAC8E           16:13:32
 10        Info Hash: 02C5AC2FF97A14C733A92B7AC0EA72F8460BF52E                          02-14-   Blacked        02-11-2023    03-07-2023   PA0002400311
           File Hash:                                                                     2023
           88DE46D310A7E8FEE54C57A3EEFBF921EFD0227C9F6E888E79BDF68890BF35CC           21:08:28
 11        Info Hash: A03C2DD0F6891452B400F352C4CAEFF18F863F9A                          02-03-   Blacked        01-19-2023    01-27-2023   PA0002393081
           File Hash:                                                                     2023   Raw
           58E7C18532487E38478C378427D53A90889DFBE06CE8CA9D6A0D6C976FEC1AA1           00:25:04
                        Case 2:23-cv-01413-ES-MAH Document 1-1 Filed 03/13/23 Page 2 of 4 PageID: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 3D66755C8BC977312D77CB65FA8995558A890EF1                   02-03-   Blacked   10-22-2022   10-31-2022   PA0002377820
       File Hash:                                                              2023
       CE33D1A2D7CF664F8561848FAE519F184FF5A3C237A9CC79E59B4CFD219E4A84    00:23:51
13     Info Hash: 9BFF2431CB1534DD602B6E18843CFE128BA77BFE                   02-03-   Slayed    07-12-2022   08-10-2022   PA0002370897
       File Hash:                                                              2023
       2F373BD577AD940EA97E210845FF2F3FAF31E7DD3EF9A064C502F0C78255C309    00:23:20
14     Info Hash: 78D6507E6AC2F97007D9B87170692852F4F3658D                   02-03-   Tushy     01-29-2023   03-07-2023   PA0002400310
       File Hash:                                                              2023
       82CC8B7E9DB91DC507B29304294C5AFA9D9851A17B02C2485D96DE33D45CF9A9    00:22:25
15     Info Hash: 500B18007D8696E0B35D5053E8DFD82BFA02D285                   02-02-   Vixen     04-08-2022   05-20-2022   PA0002350388
       File Hash:                                                              2023
       7C2D3414523579E0731F54BA432EA979B0B5D02C87CDC4101CFF4972C369D619    23:47:04
16     Info Hash: CCB3D2A0A3CD833D4960BEB5A586987D98A8A4C8                   02-02-   Slayed    01-04-2022   02-03-2022   PA0002341800
       File Hash:                                                              2023
       EF327809ADB6CB3A3838898DE18AED89C7B281AC7C8A82773406D9F4FF96AE21    23:28:19
17     Info Hash: 53A1F35DC62619D28F49BF5E7398F8A6E23C7D00                   02-02-   Slayed    08-09-2022   10-05-2022   PA0002378461
       File Hash:                                                              2023
       8DD4D2B111AEAD954F26D24E8D0C6F6E570B7CCB8F58CCF70CC67AE4112F0D36    23:18:45
18     Info Hash: 9D0E6395886BD6D9F2435B40F907FF75184571C8                   01-29-   Vixen     11-04-2022   12-11-2022   PA0002384755
       File Hash:                                                              2023
       B972F5E8B10A1E9A75F37EB4DCA61E749E0C08EF0A1665D59A2FA625E3D1A235    15:04:09
19     Info Hash: 66882F76290D2AB7DD93C95E6BFA4DE73EB4E64F                   01-29-   Tushy     06-15-2017   07-07-2017   PA0002070815
       File Hash:                                                              2023
       6835C1A6441FBAE9898A2B111A27114883EBE7CBE0E452062F4A71AF10D9029D    14:52:47
20     Info Hash: 21A0C1F6EDFFE6178F8B30D4149B102FA5DFA840                   01-29-   Blacked   12-20-2022   01-09-2023   PA0002389608
       File Hash:                                                              2023   Raw
       50164D884362AB49B6502AB30A1480995FE81AF17741ACFD55EA695A3EE8083F    14:51:17
21     Info Hash: 43AE3B514C855B60DB2D0B78085D6DE14F890B76                   01-29-   Tushy     01-01-2023   01-10-2023   PA0002389579
       File Hash:                                                              2023
       F6ECE9B067EA9898CD4EBEDB35B9CE1A6AC4D7234B8F7C8E636EA347F5DA277F    14:03:51
22     Info Hash: F88C73EDBD5369156CF6618EDE7CCEE2E9362A4A                   01-21-   Blacked   11-05-2022   12-11-2022   PA0002384720
       File Hash:                                                              2023
       7C6FB1FA98748FBF3EB6975B30203629C5F9DB3D0240D67EBB7A2F68EE1814E4    15:39:22
23     Info Hash: 7DFD7054EC044D7382229CAC29482FF09B4A78B4                   01-21-   Blacked   10-31-2022   12-11-2022   PA0002384770
       File Hash:                                                              2023   Raw
       BCDD15907FDBD565AE5238658FBD2C07E950E8AEA04D6FB530B337FD59252F27    15:37:12
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: CB824E8C8C2E955B1913A116A11A448FF74ADC80                   12-28-   Blacked   12-25-2022   01-09-2023   PA0002389598
       File Hash:                                                              2022   Raw
       BA3525EF7022D26044B192EBAA815DB0C698E500BABC616A3D36FEB4A57476DC    13:48:01
25     Info Hash: 34C8C1B694349A1DF59D9F3EFE5A333A6EC7F644                   12-21-   Tushy     06-12-2022   06-27-2022   PA0002354982
       File Hash:                                                              2022
       23FF03E8C3FB4FDE9345CDF7003D800AB523390D1F647D6CEE532772B08A913F    20:04:16
26     Info Hash: B51BF7BB2CC0BD6377FDB94143542D242AFE6EE5                   12-21-   Tushy     07-31-2022   08-30-2022   PA0002367738
       File Hash:                                                              2022
       C4D78B29390BC49DA72EFB4A5FA5DA534D4989918376071381FF6A77FBCE02FB    19:56:05
27     Info Hash: 102E275F06CD6433699975512D505CCABC08AC65                   12-21-   Tushy     12-18-2022   01-10-2023   PA0002389612
       File Hash:                                                              2022
       12135BB7D825A793CAEBAE9DD71A7DEF7964928EFC8476214BD93F1CB090D0A9    18:55:47
28     Info Hash: E6407E0ABEA09EB702CB16B07FE45432F50F7CAF                   12-19-   Vixen     04-22-2022   05-20-2022   PA0002350377
       File Hash:                                                              2022
       093B1FBCE39A73834E53CA771C4F58B0B28B8C0F1A80001E6D37492B1E8F2ABC    22:28:24
29     Info Hash: EC7B536F394071701D40E02A9A6479B5A777521A                   12-15-   Tushy     12-11-2022   01-10-2023   PA0002389623
       File Hash:                                                              2022
       2C2DAD9004F5195B7099D48ED495DC6012D2B71AED562B931DC3584F5CC04B76    00:15:44
30     Info Hash: 7D4A7CA1D1D3C53CA13B10A1443E515B9036CB6C                   12-03-   Blacked   09-17-2022   10-05-2022   PA0002373760
       File Hash:                                                              2022
       76C1663C6E2EB8A19475499777B513D5E8EE3D37B368D27E5D704D753B83D745    19:10:36
31     Info Hash: 45042E64689D7A0AD9A8746EFBE2C41C63D3AE36                   11-30-   Blacked   06-11-2022   06-27-2022   PA0002355039
       File Hash:                                                              2022
       00ADC6F86AD60EC460B11A4088308358D83640579948A34F131B3A50FEF9BFD0    00:07:02
32     Info Hash: 3D784503196D4B95F04098E2E56852F4F7D45836                   11-23-   Tushy     02-13-2022   03-29-2022   PA0002342838
       File Hash:                                                              2022
       0CA6C97E0A5152060A38ADBC585FBB30E4AB94B669792EC2D68772AF1761CF24    15:53:50
33     Info Hash: A44D9E12AF9C892684763C28941B668EF239CC7C                   11-19-   Blacked   11-12-2022   12-11-2022   PA0002384761
       File Hash:                                                              2022
       9829F668C7BCDA17F5848DE3EAF5B82136F0C3E5ADF1D74481A2F84111D1152D    20:20:53
34     Info Hash: ACAEAB5A100D20A306B5F8BD063D03CFE0865F2F                   11-09-   Tushy     11-06-2022   12-11-2022   PA0002384747
       File Hash:                                                              2022
       FE47DAC4CEFE80E8AEBCCEE88BB1FCD162E4444A536736C3E26270D841B654C3    20:22:42
35     Info Hash: 58E59EA364F324296007E16F9F488A1E0DA5D933                   11-02-   Blacked   10-23-2021   11-11-2021   PA0002321276
       File Hash:                                                              2022
       9FF576136408AC0312144C093118DC1707CFC6B57A4825DD6A43896D0E78468D    20:42:47
                        Case 2:23-cv-01413-ES-MAH Document 1-1 Filed 03/13/23 Page 4 of 4 PageID: 16

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 76F95670FA20DDC51B0DA2B370811C85A77261AF                   11-02-   Vixen     09-24-2021   11-11-2021   PA0002321289
       File Hash:                                                              2022
       F07BEB037C33C3900A5286CAE8445B4E99443F63E28A3B1FE01CCA53F259A240    20:42:26
37     Info Hash: 62E7E36C9799BA4BACBB7CA72D1D554CD3A5AF92                   11-02-   Blacked   08-27-2022   10-05-2022   PA0002373768
       File Hash:                                                              2022
       24DA8F696EEE342F2DE458C904301A2B8EA9BE90847ED5BBF74CD6C890599104    20:29:33
38     Info Hash: ECE7258EB3599A33728969D13171F844B0EEFDB3                   11-02-   Vixen     10-28-2022   12-11-2022   PA0002384773
       File Hash:                                                              2022
       BAA9A9A0CF3BDD30B0A91CA8921EB5E38DC987CD56648AFD2BB407355992640E    20:06:32
39     Info Hash: A14023846EED88AF95F2AF76BD1D5A5E90CC920D                   10-12-   Vixen     09-23-2022   10-05-2022   PA0002373763
       File Hash:                                                              2022
       B960E455DB5743B61019D1F2991B3E39B5655415FE98C81E642B61C3E14B3CFC    17:56:46
40     Info Hash: B664491ECF005F0F196B8A1FBF69B2DF31F03B4A                   10-12-   Vixen     10-07-2022   11-24-2022   PA0002389323
       File Hash:                                                              2022
       16DD10031D63C17B5F0170F4F4FACF6AE53C50E1CA671EF54563CE31CD79D211    17:51:51
